Case: 1:17-cv-02635-CAB Doc #: 252 Filed: 01/26/24 1 of 2. PageID #: 16536




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



  JAMES HAYDEN,                                 )      CASE NO. 1:17CV2635
                                                )
                         Plaintiff,             )      JUDGE CHRISTOPHER A. BOYKO
                                                )
                 vs.                            )      SCHEDULING ORDER
                                                )
  2K GAMES, INC., et al.,                       )
                                                )
                         Defendants.            )


  CHRISTOPHER A. BOYKO, J.:

         As the parties are aware, the Court set the captioned case for Jury Trial commencing

  April 15, 2024, but delayed setting other dates until the resolution of the pending

  consolidation and summary judgment motions. Those matters are now resolved.

         The Final Pre-Trial Conference is scheduled for March 21, 2024 at 2:00 p.m. Unless

  the Court decides otherwise as the date approaches, the Final Pre-Trial Conference will be

  conducted in Courtroom 328 East Chambers of the Howard Metzenbaum Courthouse, 201

  Superior Avenue, Cleveland, Ohio.

         In light of the Court’s summary judgment ruling which will likely necessitate

  amendments to previously-filed trial documents, the Court orders the parties to meet, confer
Case: 1:17-cv-02635-CAB Doc #: 252 Filed: 01/26/24 2 of 2. PageID #: 16537




  and propose what additional filings they wish the Court to consider aside from the

  stipulations, jury instructions, motions in limine and trial briefs as outlined in the Court’s

  Standing Trial Order.

         The joint notice of proposed filings and proposed filing dates shall be submitted by

  close of business on February 6, 2024. Once the Court reviews the parties’ proposals, the

  Court will identify what will be allowed and will provide filing deadlines.

         IT IS SO ORDERED.

         DATE: January 26, 2024


                                         s/Christopher A. Boyko
                                         CHRISTOPHER A. BOYKO
                                         United States District Judge




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